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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF VIRGINIA
                                  (DANVILLE DIVISION)


  UNITED STATES OF AMERICA                       )
                                                 )
  v.                                             )         Case Number: 4:18CR00011-04
                                                 )
  DASHAUN LAMAR TRENT                            )

               MOTION IN LIMINE TO EXCLUDE BALLISTICS EVIDENCE, OR
                     ALTERNATIVELY, FOR A DAUBERT HEARING

         Your Defendant, Dashaun Lamar Trent, respectfully moves this Court for entry of an
  ORDER excluding the government’s ballistics evidence and objects to all proposed trial exhibits
  relating thereto in the above-named case, or in the alternative, to conduct a Daubert hearing to
  determine if the government’s toolmark/ballistics evidence is sufficiently reliable under Federal Rule
  of Evidence 702 and states the following in support thereof:
         (1)     Your defendant stands indicted in a multi-count, multi-defendant RICO case alleging
  that members of the Rollin 60s Crips street gang violated the Racketeer Influenced and Corrupt
  Organizations (“RICO”) statute, 18 U.S.C. § 1962, Violent Crimes in Aid of Racketeering
  (“VICAR”) statute, 18 U.S.C. § 1959, and other related charges.
         (2)     The First Superseding Indictment alleges, inter alia, that your defendant, conspiring
  with the other defendants, engaged in the following overt acts:
                 -June 15, 2016: did shoot and attempt to murder Armonti Devine Womack and
                 Dwight Montel Harris;

                 -August 20, 2016: did shoot and murder Christopher Lamont Motley and attempt to
                 murder Justion Wilson;

                 -August 24, 2016: did shoot and attempt to murder Tyliek Conway;

                 -December 2015 through August 2016: committed numerous assaults with a deadly
                 weapon.




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         (3)     On June 14, 2019, the United States disclosed, in timely fashion, her 2,125 trial
  exhibits to defense counsel. Among those exhibits,1 several deal with firearms, ballistics, and
  toolmark identification. Your defendant objects to the introduction into evidence of the aforesaid
  exhibits.
         (4)     The United States has given notice that she will call the following individuals as
  expert witnesses in the area of firearms, ballistics and toolmark identification through whom the
  aforementioned exhibits will be introduced:
                 (i)     Scott McVeigh (Prince George’s County (MD) Police Department);
                 (ii)    Courtney Etzelmiller (Virginia Department of Forensic Science);
                 (iii)   Wendy Gibson (Virginia Department of Forensic Science).
         (5)     The ballistics/toolmark exhibits are grouped in reference to each of the three
  shootings alleged in the Superseding Indictment as well as three other shootings which are not
  specifically linked to any other count of the Superseding Indictment.2 Moreover, there are additional
  ballistics/toolmark exhibits associated with two other events not charged in the Superseding
  Indictment: a traffic encounter on November 2, 2016, and the execution of a search warrant at 252
  Parker Road, Danville, VA on November 4, 2016. The following represents the ballistics/toolmark
  exhibits and their respective crime scene/event association:
         -Exhibits 15 through 23: house shooting Sunset Drive (non-indictment)
         -Exhibits 59 through 72: house shooting Garland St./car on Berryman Ave. (non-indictment)
         -Exhibits 157 through 162: attempted murder Armonti Womack and Dwight Harris 06/15/16
         -Exhibits 231 through 233: murder Christopher Motley/ attempted murder Justion Wilson
         -Exhibits 245 through 258: murder Christopher Motley/ attempted murder Justion Wilson
         -Exhibits 289 through 291: attempted murder Tyliek Conway 08/24/16
         -Exhibits 311 and 312: a traffic encounter on 11/02/16 (non-indictment)


         1
                 15-24, 59-72, 157-162, 231-233, 245-258, 289-291, 311-312, 314-315, 319-322, and
  323 -327.
         2
                  The shooting of house on Sunset Drive in Danville, VA on December 9, 2015; the
  shooting of a house a house on Garland Street in Danville, VA on April 26, 2016 and the shooting
  at a car on Berryman Avenue in Danville, VA on April 26, 2016;

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         -Exhibits 314 and 315: a traffic encounter on 11/02/16 (non-indictment)
         -Exhibits 319 through 322: search warrant 252 Parker Road (non-indictment)
         -Exhibits 323 through 327: various other ballistics/tool mark exhibits including video.


  I.     INTRODUCTION
         The government seeks to introduce various reports and certificates of analysis which contain
  various types of language intended to convince the jury that “science” will prove that a particular
  shell casing was fired from a particular firearm or that a group of shell casings are limited to a
  particular gunmaker and/or a certain limited number of firearms. For example, the United States
  intends to offer in her case-in-chief at trial, testimony that particular ammunition found at one crime
  scene in Danville, Virginia was fired from one particular gun later found in Hyattsville, Maryland.
  Specifically, the government will offer testimony in the form of ballistic/toolmark evidence3 that
  ONE (1) .40 caliber Smith &Wesson fired cartridge case found on August 20, 2016, at the
  Christopher Motley homicide4 crime scene in Danville, VA, was fired from a firearm found on April
  29, 2017, during a vehicle search at Glenridge Communny Park located in Hyattsville, MD (Prince
  George’s County).
         Pursuant to Federal Rule of Criminal Procedure Rule (hereafter “FRCP”) 16(a)(1)(G), the
  United States seeks to adduce this ballistic/toolmark evidence from Scott C. McVeigh (hereinafter
  “McVeigh”) of the Prince George’s County Police Department in the form of expert testimony.
  McVeigh notates that:
                 “[t]hrough direct microscopic comparison, it was determined that the one (1) caliber
                 .40 S&W fired cartridge case (Item 2) recovered in incident # 1 was identified as
                 having been found in the Smith & Wesson brand pistol (Item 01, serial number
                 FYH4828) recovered in incident #2.”5




         3
                 Exhibits 246 through 257.
         4
                 The August 20, 2016 crime scene evidence is related to the murder of Christopher
  Motley and the attempted murder of Justion Wilson as set forth in Counts 1, 10, 11, 12, and 13 of
  the First Superseding Indictment.
         5
                 Government Exhibit 256.

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   McVeigh does not do not divulge the facts or observations upon which this conclusion is based,
  or the standards applied to reach this conclusion other than a cursory statement that it was done by
  utilizing “direct microscopic comparison.”6 It is entirely possible that the testimony will not meet
  even the generally accepted standards of forensic firearms identification. Moreover, even if it does,
  the evidence is inadmissible under Rule 702 of the Federal Rules of Evidence (hereinafter “FRE”)
  because the conclusions are not in fact the product of reliable principals and methodology.
          The purported expert testimony is based on faulty assumptions - such as that all guns leave
  unique marks on bullets and casings fired through them. The purported expert testimony is also
  utterly subjective and standardless with no requirement as to how many similarities it takes to
  declare a “match” or how many differences it takes to rule one out. Most troubling, the Prince
  George’s County Police Department, like the vast majority of local, state and federal firearm
  examiners, make no attempt to utilize modern measurement equipment to more accurately measure
  the alleged "toolmarks" to obtain a more accurate and quantifiable comparison that can be subject
  to statistical analysis. The government has failed to meet its burden of establishing that the proper
  expert testimony is based on a valid and reliable methodology and, therefore, is inadmissible.
  McVeigh’s “match” of a spent cartridge casing from the Motley homicide crime scene in Virginia
  to a Smith & Wesson .40 caliber firearm found in Maryland is purely an exercise in subjective
  declarations - namely, it’s a match because he declares it to be a match.7
          Similarly, the government intends, through another expert witness (Courtney Etzelmiller) to
  introduce a certificate of analysis trying to convince the jury that, scientifically, a shell casing “was
  microscopically examined and found to exhibit markings that may be suitable for identification with
  the firearm in which it was fired.”8 This particular certificate of analysis does not do not divulge the
  facts or observations on which this conclusions is based, or the standards applied to reach this
  conclusion other than a cursory statement that it was done by utilizing microscopic examination. It


          6
                  Id.
          7
                  McVeigh is a police officer with a Criminal Justice certificate from a two year college
  - not a trained scientist or engineer.
          8
                  Exhibit 232.

                                                    -4-
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  is another example of attempting to add science where none exists by merely stating subjective
  conclusions and printing them on a piece of paper signed by a “Forensic Scientist” from the
  Department of Forensic “Science.” The expert witness, Courtney Etzelmiller, has a Masters Degree
  in “Forensic Science” with an area of emphasis in pyschology just like the undergraduate diploma
  she holds in psychology. Importantly, she does not hold a degree in materials engineering,
  metallurgical engineering, materials science, or any other academic discipline which deals with the
  actual science of what happens to metal when it comes into contact with other metal as a result of
  high pressure and explosive forces such as gun powder.
         The government’s final ballistics/toolmark expert witness is Wendy Gibson (hereinafter
  “Gibson”) from the Commonwealth of Virginia Department of Forensic Science. Through Gibson,
  the United States seeks to state to the jury declarations found in the following government trial
  exhibits:
         Exhibit 15:    cartridge cases which were identified as having been fired in one (1)
                        firearm;

         Exhibit 16:    a potential association exists between Item 1 cartridge cases and the Item 32
                        cartridge case; signed by Therese C. Moynihan not Wendy Gibson;

         Exhibit 23:    the above listed Item 12 cartridge cases were identified as having been
                        fired in the firearm represented by Item 11 test fired cartridge case;
         Exhibit 70:    a potential NIBIN association exists between the previously imaged Item 23
                        cartridge cases submitted; signed by Laura Hollenbeck not Wendy Gibson;

         Exhibit 63:    Potential NIBIN associations exit between Item 26 listed above, one (1) of the
                        Item 1 cartridge cases submitted . . .and the Item 32 cartridge case . . . .
                        signed by Bronwyn Devlin not Wendy Gibson;

         Exhibit 64:    the above listed Item 23 cartidge case was identified as having been fired in
                        the same firearm as the Item 8 cartridge case submitted;

                        the above listed Item 26 cartidge case was identified as having been fired in
                        the same firearm as the Item 1 cartridge case submitted;

         Exhibit 66:    a potential NIBIN association exists between the previously imaged Item 4
                        cartridge case . . . and the Item 70 cartridge case . . . .;
                        signed by Laura Hollenbeck not Wendy Gibson;


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         Exhibit 67:     One (1) of the Item 4 cartridge cases was microscopically examined and
                         entered into the NIBIN system. . . .No associations were made at this time;
                         signed by Bronwyn Devlin not Wendy Gibson;

         Exhibit 68:     Subsequent microscopic comparisons were conducted and the above listed
                         Item 4 cartridge cases labeled A through F were identified as having been
                         fired in the same firearm as the item 70 cartridge case submitted . . . . ;

         Exhibt 158:     Item 8, a Winchester brand caliber .40 Smith & Wesson cartridge case, and
                         Item 41, a Remington brand caliber .40 Smith & Wesson cartridge case, were
                         identified as having been fired in one (1) firearm; signed by Laura Hollenbeck
                         not Wendy Gibson;

         Exhibit 159:    Item 8 listed above was identified as having been fired in the same firearm
                         as the Item 23 cartridge case submitted . . . .;

         Exhibit 290:    Item 6 contains fourteen Federal brand caliber 9mm Luger cartridge cases
                         which were microscopically examined and identified as having been fired in
                         the same firearm;

         Exhibit 311:    Potential NIBIN associations exist between the following: *The imaged item
                         1T cartridge case (test fired in the Item 1 pistol listed above) and the imaged
                         Item 2 cartridge case submitted under FS Laboratory # W16-7644 . . . ;

         Exhibit 312:    Subsequent microscopic comparisons were conducted and the Item 14 and
                         23 cartridge cases . . . were identified as having been fired in the item 11
                         pistol . . . .;

         Exhibit 319:    Item 11, a Federal brand caliber .45 Auto cartridge case, was microscopically
                         examined and entered into the NIBIN system;

         Exhibit 320:    subsequent microscopic comparisons were conducted with the following
                         results: *the Item 1 cartridge cases submitted under FS Laboratory # W16-
                         8807 were identified as having been fired in the firearm represented by the
                         Item 11 cartridge case listed above.

         None of Ms. Gibson’s declarations come with any standards, methodology, statistical
  analysis, or error rate. It is nothing more than eyeballing two metal cartridge casings and
  subjectively declaring that they look similar enough to make a “scientific” opinion about their
  relationship to a particular firearm.
   II.   ARGUMENT


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           A.       EXPERT TESTIMONY IS NOT ADMISSIBLE UNLESS THE PROPONENT
                    OF THE TESTIMONY ESTABLISHES THAT THE TESTIMONY IS BOTH
                    RELIABLE AND RELEVANT.

           A trial judge “faced with a proffer of expert scientific testimony, [ . . . ] must determine at
  the outset, pursuant to rule FRE 104(a), whether the expert is proposing to testify to 1) scientific
  knowledge that (2) will assist the trier of fact to understand or determine a fact in issue.”9 A court
  performing this inquiry must make a preliminary assessment of, first, “whether the reasoning or
  methodology underlying the testimony is scientifically valid” and second, “whether that reasoning
  or methodology properly can be applied to the facts in issue.”10 In other words, before proffered
  expert testimony may be admitted, the trial judge must “ensure that an expert's testimony both rests
  on a reliable foundation and is relevant to the task at hand.”11 The trial judge's gate-keeping
  obligation to ensure that any and all testimony “is not only relevant, but reliable” applies to "all
  expert testimony,” regardless of whether the expert testifies or purports to testify on the basis of
  scientific, technical or other specialized knowledge.12
           In 2000, Rule 702 of the Federal Rules of Evidence was amended to reflect the principles set
  forth in the Daubert case and other subsequent case law.13 Rule 702, as further amended in 2011
  provides:
           A witness who is qualified as an expert by knowledge, skill, experience, training, or education may testify in
  the form of an opinion or otherwise if:

                    (a) the expert’s scientific, technical, or other specialized knowledge will help the trier of fact to
                    understand the evidence or to determine a fact in issue;

                    (b) the testimony is based on sufficient facts or data;

                    (c) the testimony is the product of reliable principles and methods; and


           9
                    Daubert v. Merrill Dow Pharmaceuticals (“Daubert”), 509 U.S. 579, 592 (1993).
           10
                    Id.
           11
                    Id. at 597.
           12
                    Kuhmo Tire Co., Ltd. v. Carmichael, 526 U.S. 137, 147 (1999) quoting Daubert, 509
  U.S. at 589.
           13
                    FRE 702, Notes of Advisory Committee on 2000 Amendments.

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                  (d) the expert has reliably applied the principles and methods to the facts of the case.14


           1.     BURDEN OF PROOF.
           The “proponent [of the expert testimony] has the burden of establishing that the pertinent
  admissibility requirements are met by a preponderance of the evidence.”15 On remand from the
  Supreme Court of the United States in Daubert, the Ninth Circuit stated that the burden is on the
  proponent of expert testimony to establish a prima facie case that the evidence satisfies the
  requirements of Rule 702.16 If the proponent of the expert testimony makes a prima facie showing
  that the testimony meets the requirements of Rule 702, the opposing party is then entitled to
  challenge that showing. Where the opposing party raises a material dispute as to the admissibility
  of expert scientific evidence, the court should then hold an in limine, so-called “Daubert Hearing,”
  “to consider the conflicting evidence and make findings about the soundness and reliability of the
  methodology employed by the scientific experts.”17
           2.     RELIABILITY.
           In determining the reliability of proffered expert testimony, the focus is on principles and
  methodology, not on the conclusions they generate.18 “Proposed testimony must be supported by
  appropriate validation, i.e., ‘good grounds’ based on what is known.”19 The reliability inquiry is a
  flexible one, with substantial discretion left to the trial judge to determine how to evaluate the
  reliability of a particular expert's testimony.20 The Daubert Court identified five non-exclusive


           14
                  FRE 702.
           15
                 FRE 702 Advisory Committee Notes 2000 Amendments citing Bourjaily v. United
  States, 483 U.S. 171 (1987).
           16
                  Daubert v. Merrill Dow Pharmaceuticals, 43 F.3d. 1311, 1319 [footnote 10] (9th Cir.
  1995).
           17
                  Id.
           18
                  Daubert, 509 U.S. at 595.
           19
                  Daubert, 509 U.S. at 590.
           20
                  Kumho Tire Co., Ltd. v. Carmichael (“Kumho”), 526 U.S. 137, 141, 152 (1999).

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  factors to be considered in evaluating reliability: (1) whether the theory or technique can be and has
  been tested, (2) whether the theory or technique has been subject to peer review and publication, (3)
  whether a particular scientific technique has a known or potential rate of error, (4) whether standards
  controlling the technique's operation exists and are maintained, and (5) whether the technique is
  generally accepted in the relevant scientific community.21 However, “Daubert's list of specific
  factors neither necessarily nor exclusively applies to all experts or in every case.”22 Thus, the factors
  listed in Daubert will not always be applicable or instructive. For example, presence of the general
  acceptance factor will not “help show that an expert's testimony is reliable where the discipline itself
  lacks reliability.”23
          Finally, the Fourth’s Circuit mandate to trial judges is quite instructive as a ‘road map’ of
  how to navigate the Sargasso Sea of Daubert challenges:
                            We need not lay out the manner in which the Daubert analyses should be
                  conducted. The law on that topic is well settled. But on a most basic level, to be
                  admissible, an expert testimony must be of “scientific, technical or other specialized
                  knowledge.” Fed. R. Evid. 702(a) It must not be based on “belief, speculation, and
                  inferences must be derived using scientific or other valid methods.” Oglesby v.
                  General Motors Corp., 190 F.3d 244 (4th Cir. 1999) And it is not enough for an
                  expert to rely on his subjective belief. Daubert, 509 U.S. at 590, 113 S.Ct. 2786.
                  Without testing, supporting literature in the pertinent field, peer reviewed
                  publications or some basis to assess the level of reliability, expert opinion testimony
                  can easily, but improperly, devolve into nothing more than proclaiming an opinion
                  is true “because I say so.”24

  Because this Court must perform a gatekeeping function with regard to this type of evidence, it
  should conduct a Daubert hearing to require the United States to demonstrate that toolmark
  examination in the field of ballistics is in conformity with the Daubert five factors. For further
  consideration of the science and law in this area, counsel for your Defendant submits and attaches
  a law review article authored by Adina Schwartz entitled: A Systemic Challenge to the Reliability
  and Admissibilty of Firearms and Toolmark Identification which was published in the The Columbia


          21
                  Daubert, 509 U.S. at 593-594.
          22
                  Kuhmo, 526 U.S. at 141.
          23
                  Kuhmo, 526 U.S. at 151.
          24
                  Small v. Welldyne, Inc., 927 F.3d 169, 176-77 (4th Cir. 2019).

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   Science and Technology Law Review in 2005 (Volume VI). Additionally, the Court is provided
   with the Report and Recommendation of the Honorable Paul W. Grimm, United States Magistrate
   Judge from a 2009 criminal case styled United States of America v. Tavon Mouzone.25 Judge
   Grimm’s review of this issue is cogent, thorough, comprehensive, and provides valuable insight into
   the challenges courts face when dealing with toolmark examintion in firearms/ballistics cases.
          3.      RELEVANCE.
          Expert testimony should be excluded where it is irrelevant to the issues in the case.26 The
   relevance inquiry is an important one because “scientific expert testimony carries special dangers
   to the fact-finding process because it ‘can be both powerful and quite misleading because of the
   difficulty in evaluating it.’”27 “Federal judges must therefore exclude proffered scientific evidence
   under Rules 702 and 403 unless they are convinced that it speaks clearly and directly to an issue in
   dispute in the case and that it will not mislead the jury.”28 Your defendant concedes that the
   relevancy prong of Daubert is not at issue in this case. The issue of whether a firearm found in
   Maryland “matches” a spent cartridge found at the Christopher Motley crime scene is highly
   relevant.
          B.   THE PROFFERED “EXPERT” BALLISTICS EXHIBITS SHOULD BE
          EXCLUDED BECAUSE THEY FAILS TO MEET THE ADMISSIBILITY
          REQUIREMENTS OF DAUBERT AND RULE 702.

          The government has failed to make even a prima facie showing that the proffered evidence
   meets the requirement of Rule 702. For example, it is the “subjective belief” about which the 4th
   Circuit warned in Small that undermines the evidence referenced in Government Exhibits 246
   through 257. In the instant case, and focusing on the government’s expert Scott McVeigh, the
   United States has provided nothing more than McVeigh’s bald assertion that a spent cartridge casing


          25
                Case Number 1:08-cr-00086, The United States District Court for the District of
   Maryland. [ECF 721]
          26
                  See Daubert, 509 U.S. at 591-592.
          27
                  Daubert, 43 F.3d at 1321 n. 17 (quoting Daubert, 509 U.S. at 595).
          28
                  Id.

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   from Virginia delivered to the police in Maryland “was identified as having been fired” from the
   firearm recovered in Maryland. The reports provided to defense counsel neither explain the
   methodology the expert followed to reach his conclusion nor point to any external source to validate
   that methodology. Here, defense counsel, and likewise the Court, is presented with only the expert
   qualifications and his subjective conclusion. In other words - it’s a match because McVeigh says
   it is.
            The United States has provided no information as to what markings, if any, upon which
   McVeigh relied, on the cartridge casing to reach his conclusion. The United States has not provided
   McVeigh’s error rate however, it is anticipated that he will claim an error rate of 0%. The
   government cannot provide documentation whether McVeigh’s opinion was compared to a
   standardized protocol for toolmark identification since there are no recognized standards in the field.
   Nothing has been provided by McVeigh to show how many similarities it takes to declare a “match”
   or how many differences it takes to rule it out. In short, McVeigh compared to side-by-side
   photographs (Exhibit 255) and ‘eyeballed’ it and declared the cartridge case from the fired weapon
   in Maryland matched the cartridge case found at the Christopher Motley crime scene. No science,
   no statistical probability, no standards - just: ‘it’s a match because I say it is.” The same can also be
   said of the government’s proposed trial exhibits associated with Courtney Etzelmiller and Wendy
   Gibson.
            WHEREFORE, your Defendant, Dashaun Lamar Trent, by counsel, respectfully moves this
   Court for entry of an ORDER excluding the government’s ballistics evidence and objects to all
   proposed trial exhibits relating thereto in the above-named case, or in the alternative, to conduct a
   Daubert hearing to determine if the government’s toolmark/ballistics evidence is sufficiently reliable
   under Federal Rule of Evidence 702.


                                                            Respectfully submitted,
                                                            DASHAUN LAMAR TRENT
                                                            By /s/ Chris K. Kowlaczuk




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                                      CERTIFICATE OF SERVICE
           I, Christopher K. Kowalczuk, Esquire, hereby certify that on this 29th day of July, 2019, I
   electronically filed the foregoing with the Clerk of the Court using the CM/ECF system which will
   send notification of such filing to all counsel of record.

                                                         /s/   Chris K. Kowalczuk




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